Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 1 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 2 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 3 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 4 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 5 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 6 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 7 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 8 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 9 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 10 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 11 of 12
Case 19-50103-gs   Doc 682   Entered 07/08/22 16:22:47   Page 12 of 12
